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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

   Haley Alafair Payne, as Personal                Case No. 3:21-cv-1068
   Representative and Executrix of the
   Estate of Paul Michael Edward Payne,            Judge Jeffrey J. Helmick
   deceased,
                                                   Answer to Plaintiff’s Complaint
                    Plaintiff,
             v.                                    Jury Demand Endorsed Hereon

   CSX Transportation, Inc.,

                    Defendant.


        Defendant, CSX Transportation, Inc. (“CSXT”), for its Answer to Plaintiff’s

Complaint, admits, denies, alleges, and otherwise avers as follows:

                                      FIRST DEFENSE

                          I.      Parties, Jurisdiction, and Venue

       1.         CSXT denies, for lack of knowledge sufficient to form a belief as to their

truth, the allegations and averments contained in this paragraph.

       2.         CSXT admits the allegations and averments contained in this

paragraph.

       3.         CSXT admits the allegations and averments contained in this

paragraph.




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       4.      CSXT admits that it is a common carrier railroad engaged in the

business of operating a railroad in interstate commerce for hire for the purpose of

carrying freight in interstate commerce, and that it conducts railroad operations in

the State of Ohio.

       5.      CSXT admits that it employed Paul Michael Edward Payne as a

conductor at the time of his death and that conductors generally perform duties in

furtherance of interstate commerce. CSXT denies, for lack of knowledge sufficient to

form a belief as to their truth, the remaining allegations and averments contained in

this paragraph.

       6.      This paragraph calls for a legal conclusion to which no response is

required; to the extent a response is required, CSXT admits only that it is subject to

the Federal Employers’ Liability Act (“FELA”) and that this Court has subject matter

jurisdiction over FELA cases.

                                     II.   Facts

       7.      CSXT admits the allegations and averments contained in this

paragraph.

       8.      CSXT admits that on November 22, 2020, Mr. Payne and his crew were

performing a shoving a move, which is a movement where the engine pushes railcars

as opposed to pulling them. CSXT denies, for lack of knowledge sufficient to form a

belief as to their truth, the remaining allegations and averments contained in this

paragraph.




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       9.      CSXT denies, for lack of knowledge sufficient to form a belief as to their

truth, the allegations and averments contained in this paragraph.

      10.      CSXT denies, for lack of knowledge sufficient to form a belief as to their

truth, the allegations and averments contained in this paragraph.

      11.      CSXT admits that Mr. Payne died as a result of injuries he suffered on

November 22, 2020, but denies, for lack of knowledge sufficient to form a belief as to

their truth, the remaining allegations and averments contained in this paragraph.

      12.      CSXT denies, for lack of knowledge sufficient to form a belief as to their

truth, the allegations and averments contained in this paragraph.

                             III.    First Cause of Action

      13.      CSXT denies the allegations and averments contained in this

paragraph.

      14.      CSXT denies the allegations and averments contained in this

paragraph.

                            IV.     Second Cause of Action

      15.      CSXT denies the allegations and averments contained in this

paragraph.

                             V.     Third Cause of Action

      16.      CSXT denies the allegations and averments contained in this

paragraph.




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                                    VI.    Damages

      17.      This paragraph calls for a legal conclusion or request for relief to which

no response is required; to the extent a response is required, CSXT denies the

allegations and averments contained in this paragraph.

                                 VII.     Jury Demand

      18.      This paragraph calls for a request for relief to which no response is

required.

                                 SECOND DEFENSE

      19.      CSXT denies each and every allegation and averment contained in

Plaintiff’s Complaint that has not been specifically and expressly admitted as true

herein.

                                  THIRD DEFENSE

      20.      The damages for which Plaintiff seeks recovery were caused, in whole or

in part, by the negligence of Plaintiff’s decedent, which either precludes or reduces

recovery.

                                 FOURTH DEFENSE

      21.      The damages for which Plaintiff seeks recovery were directly and

proximately caused, or contributed to, by the acts of persons and/or other entities for

whom CSXT is not legally responsible, and that said acts were an intervening and

superseding cause of the injuries and damages of which Plaintiff complains, thus

barring Plaintiff from any recovery against CSXT.




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                                  FIFTH DEFENSE

      22.      Plaintiff’s claims are precluded, in whole or in part, by federal and/or

state law, including but not limited to, the Federal Railroad Safety Act of 1970,

Federal Track Safety Standards, and the Railway Labor Act.

                                  SIXTH DEFENSE

      23.      Plaintiff’s Complaint fails to state claims upon which relief may be

granted.

                                SEVENTH DEFENSE

      24.      Plaintiff has failed to join one or more necessary and/or indispensable

parties.

                                 EIGHTH DEFENSE

      25.      Plaintiff's damages resulted from an unforeseeable act of God, thereby

barring, either partially or totally, Plaintiff's claimed damages.

                                  NINTH DEFENSE

      26.      Plaintiff has failed to mitigate damages.

                                  TENTH DEFENSE

      27.      CSXT pleads the defenses of accord and satisfaction, res judicata,

collateral estoppel, release and/or waiver, and/or laches.

                               ELEVENTH DEFENSE

      28.      CSXT reserves the right to add to its Answer and to rely on all defenses

that may hereafter be disclosed through investigation, discovery or otherwise.




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        WHEREFORE, Defendant, CSX Transportation, Inc., prays that this matter

be dismissed against it, and that it recover its costs and attorneys’ fees expended

herein and all other relief to which it is entitled in this matter.



        Dated: June 22, 2021                    Respectfully submitted,


                                                s/James R. Carnes
                                                James R. Carnes (0070005)
                                                Shumaker, Loop & Kendrick, LLP
                                                1000 Jackson Street
                                                Toledo, Ohio 43604
                                                Telephone: (419) 241-9000
                                                Fax:         (419) 241-6894
                                                Email:       jcarnes@shumaker.com
                                                Attorney for Defendant,
                                                CSX Transportation, Inc.




                                   JURY DEMAND

        Defendant hereby demands trial by jury.

                                                Respectfully submitted,


                                                s/James R. Carnes
                                                James R. Carnes (0070005)
                                                Shumaker, Loop & Kendrick, LLP
                                                1000 Jackson Street
                                                Toledo, Ohio 43604
                                                Telephone: (419) 241-9000
                                                Fax:         (419) 241-6894
                                                Email:       jcarnes@shumaker.com
                                                Attorney for Defendant,
                                                CSX Transportation, Inc.




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                           CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document was filed this 22nd day of June

2021, through the Court’s Electronic Filing System. Parties will be served, and may

obtain copies electronically, through the operation of the Electronic Filing System.



                                              s/James R. Carnes
                                              James R. Carnes (0070005)
                                              Shumaker, Loop & Kendrick, LLP
                                              1000 Jackson Street
                                              Toledo, Ohio 43604
                                              Telephone: (419) 241-9000
                                              Fax:         (419) 241-6894
                                              Email:       jcarnes@shumaker.com
                                              Attorney for Defendant,
                                              CSX Transportation, Inc.




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